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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION

  PERCY TWAIN BARBER, AND WIFE             §
  MARIA BARBER                             §
                                           §
        CLAIMANT,                          §
                                           §
  V.                                       §
                                           § CIVIL ACTION NO. 1:21-CV-00539
  S.D.B. DEVELOPMENT, L.P., A              §
  TEXAS LIMITED PARTNERSHIP,               §
  PRESIDENT STEPHEN D. BROWN               §
                                           §
  &                                        §
                                           §
  THOMAS J. BURBANK, P.C.                  §
  ATTORNEY THOMAS J. BURBANK               §

              DEFENDANTS’ JURY QUESTIONS AND INSTRUCTIONS

                              QUESTION NO. 1:

       Are the Law Offices of Thomas J. Burbank and Thomas J.
  Burbank debt collectors under the Federal Fair Debt Collections
  Practices Act (FDCPA)?

        You are instructed that a “debt collector under the FDCPA is any
  person who uses any instrumentality of interstate commerce or the mail
  in any business the principal purpose of which is the collection of debts,
  or who regularly collects or attempts to collect, directly or indirectly,
  debts owed or due or asserted to be owed or due another.’ 15 U.S.C.
  §1692a(6). Whether a party “regularly” attempts to collect debts is
  determined , of course, by the volume or frequency of its debt collective
  activities.” Garrett v. Derbes, 110 F.3d 317, 318 (5th Cir. 1997); Brown
  v. Morris, 243 Fed Appx. 31 (5th Cir. 2007).



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        You are further instructed that conducting a non-judicial
  foreclosure by an attorney is not considered debt collection under the
  FDCPA, and foreclosing under a deed of trust is not the collection of a
  debt within the meaning of the FDCPA, unless other actions are taken
  beyond these necessary to foreclose under the deed of trust, and were
  taken in an effort to collect a debt. Brown v. Morris, 243 Fed. Appx. 31,
  36 (5th Cir. 2007).

        You are further instructed a trustee or substitute trustee is not a
  debt collector. Tex. Prop. Code §51.0075(b).

        Answer "Yes" or "No" for each Defendant named below:

        1)    Law Office of Thomas J. Burbank          _________________

        2)    Thomas J. Burbank                        _________________




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        If you answered Question No. 1 "Yes," for either Thomas J.
  Burbank or the Law Offices of Thomas J. Burbank, or both, answer the
  following Question. Otherwise, do not answer the following Question.


                              QUESTION NO. 2:

       Did either or both of the Defendants had a present right to possess
  Plaintiffs’ home by violating the certified mail requirements of the
  Texas Property Code?

       You are instructed that if Plaintiffs transferred the ownership of
  the real estate at issue located at 9015 McLean, Beaumont, Texas
  77707 to the Percy Ptah El Express Trust through a General Warranty
  Deed signed on September 28, 2021, then Defendants did not have a
  present right to possess Plaintiffs’ home.

        You are further instructed that the Texas Property Code provides
  in Section 51.002 that: (1) notice of the non-judicial foreclosure must be
  given at least twenty-one (21) days before the date of the sale by serving
  written notice of the sale by certified mail on the debtors obligated to
  pay the debts. Section 51.002(b) & (b)(3).

       You are further instructed that service of a notice by certified mail
  is complete when the notice is deposited in the United States mail,
  postage prepaid and addressed to the debtor at the debtor’s last known
  address. Section 51.002(e).

  Answer "Yes" or "No" for each of the Defendants.

        1)    Law Offices of Thomas J. Burbank               _______________

        2)    Thomas J. Burbank                              _______________




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  If you answered Question No. 1 "Yes," for either Thomas J. Burbank or
  the Law Offices of Thomas J. Burbank, or both, answer the following
  Question. Otherwise, do not answer the following Question.

                                 QUESTION NO. 3

       Did either or both of the Defendants have a present right to
  possess Plaintiffs’ home with respect to whether the Plaintiffs were
  actually in default on their mortgage payments?

        You are instructed that if Plaintiffs transferred the ownership of
  the real estate at issue located at 9015 McLean, Beaumont, Texas
  77707 to the Perry Ptah El Express Trust through a General Warranty
  Deed signed on September 28, 2021, then Defendants did not have a
  present right to possess Plaintiffs’ home.

        Answer “Yes” or “No” for each of the Defendants.

        1)    Law Office of Thomas J. Burbank               _______________

        2)    Thomas J. Burbank                             _______________




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  If you answered Question No. 1 "Yes," for either Thomas J. Burbank or
  the Law Offices of Thomas J. Burbank, or both, answer the following
  Question. Otherwise, do not answer the following Question.

                              QUESTION NO. 4

        Did either or both of the Defendants foreclose on Plaintiffs’ home
  when Plaintiffs were not in default and/or failing to comply with the
  certified mail notice requirements of the Texas Property Code?

       You are instructed that this Court’s jury instructions previously
  given to you forjuryquestionsnumbers1, 2, and 3 equally apply to this
  Question No. 4.

        Answer “Yes” or “No” for each of the Defendants.

        1)    Law Office of Thomas J. Burbank               _______________

        2)    Thomas J. Burbank                             _______________




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  If you answered Question No. 1 "Yes," for either Thomas J. Burbank or
  the Law Offices of Thomas J. Burbank, or both, answer the following
  Question. Otherwise, do not answer the following Question.

                              QUESTION NO. 5

        Did either or both of the Defendants cause Plaintiffs to incur any
  compensatory damages, which is defined as their financial or economic
  losses, if any, due to either or both of the Defendants’ violations of the
  FDCPA, if any?

        You are instructed that if either or both of the Defendants are not
  debt collectors under the law given by this Court, then these
  Defendants cannot be held liable for any of the Plaintiffs’ compensatory
  damages. You are further instructed even if you find that either or both
  of the Defendants are debt collectors, a debt collector’s violations that
  are not intentional and resulted from a bona fide error notwithstanding
  the maintenance of procedures reasonably adopted to avoid any such
  error, cannot be held liable in damages. 15 U.S.C. §1692k(c).

        Answer “Yes” or “No” for each of the Defendants.

        1)    Law Office of Thomas J. Burbank                _______________

        2)    Thomas J. Burbank                             _______________




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  If you answered “Yes” for either the Law Office of Thomas J. Burbank
  or Thomas J. Burbank, or both then answer the following Question.
  Otherwise, do not answer the following Question.

                              QUESTION NO. 6

       How much money if paid now in cash, would fairly and reasonably
  compensate Plaintiffs for their economic or financial damages, if any,
  caused by one or both of the Defendants?

        Do not add interest on any amounts of damages you award, if any.

  Plaintiffs        $_______________________




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                                CERTIFICATE

  We the jury, have answered the above and foregoing questions as herein
  indicated, and herewith return same into court as our verdict.

  (To be signed by the presiding juror, if unanimous.)

  ____________________________
  PRESIDING JUROR

  (To be signed by those rendering the verdict, if not unanimous.)

  1.) _____________________________________

  2.) _____________________________________

  3.) _____________________________________

  4.) _____________________________________

  5.) _____________________________________

  6.) _____________________________________

  7.) _____________________________________

  8.) _____________________________________

  9.) _____________________________________

  10.) _____________________________________

  11.) _____________________________________
  (Optional)




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